U.§ Dfs‘tm`ct €o¢¢rt f’or the /l/r'f¢{d/e Di§tm‘at oFNortA Carab`na.
fare No._\_?§_€§i__@_§© l

€/m`ma.hf
/U;ge/ M'. kan kin
V

Re§pohdeh fs’
R¢r(})‘n §_’ykes‘, Mo.rtl‘»» Mc§»'\ee, Po.trica Henm‘r‘, C’At!¢en'ne Mo€ormic»(' ,§i:s'an Frye l/¢z)'er:'e TA¢»»M, Ab!gm‘." §'»Jth.

Kn."¢rha garr¢`aa, md 0/}?¢::)' Fer_gusoul P.D , in their per;ana.." capacity Fnhrytl'\ C'ouuiy Haff af]am`=e, G‘t_g of Wr'.»\:',"an-§.n."a)»

 

For.ryt»'\ €cu.nty D."$'trr'.':t Atfarne_g§' O$ce, TJ\e §L`ber.¢'ar C'armf Cferé of Ca¢¢r‘ts' aff}¢;s, r'n their o$cl'm' cn,nomf_g;

per¢ona/ capa¢i@ q'ef'ehd'an]“: bond farmer companies

COMPU]I/VTFOR VIO£/JTION OF CM£ £IGHT.S`

c/Al'?na.h.f: /Ur'g€/ /M. )Qahh`h
Addrem 206 ulth 24th §c., whth §h/e»», /VmA CN¢/;M 2?105
Cacmty: For.¢'yth
D/epha“e /Uu».éer,- (336) 20?-?3?1
E-Mm‘/ Ac{drecr: rerurr~ec fish /:'qht$@g_mm'{.com

kecpm».a{enfs': Ru#}h §j/kes, /Mmr'n /l/Ic€kee, guam § Frye, Pafrfc€ Hehm`?‘, €at!¢er;ne Mc€orm‘eé, Va/er;e
Thamas~, Aé:'gm`/' §’»u'th, Ka/er/m B.m'rr‘no, U$cer Fer§us'an, P.D. Cr‘t_q of Winrfau~§’a/em, Forryth county HA// of

]a§t:'ce, librth Cacmty O{Fl`ce af'D:‘s'tn'cf Attorney
Ac(a/regs': 200 /Uort/\ /f/Iar`h §tree?‘§ W:'m'fah-§'n/em, A/C 2?701, 8 H/. 3rd §L‘., gte d100 Wim‘fvn §A/em, /UC

217 707

county Fors'yth

D/ephone /Uuméer: (336} ?? 7-6300
E-Mm'/ As{dre§.<':

Statement of Facts‘ :
P/m'n?‘)`$ fn Prapr."a. Perx'aha, 65 and through €l\n‘s't the Aa'voco.ter, §tnfes' a Fa//aw:'
One wax wrongly Arres‘ted twice f’or failure to appear Je.¢‘,bz`t.‘e conf recardr and od¢}’cr‘a./s‘ documenting Onefc
appearance Prow`hg thai One could not have f’m`/ea’ to appear and committed an a(?`enre con§t¢`tuy‘ing mre§t.
/Umd c{e&ha’anf_¢ with the duty to investigate the wonder Fm‘.@a' to a'i.;'mr‘s'.r the comp/aid against One ¢{eqpr'te no
comp/a)`nant ever making a §uper:`ar Com't Appeamwce the mffer.§m']urrk', in Prapria Perraha, the underc)ynec{
,Qm»\&in, /Uigef MArque//, hereinafi_‘er One, me, ar fl deer solemn/y a$m, dec/are mud §tafe under />enafty af'pe)jury
mg fof/own

0 Oue is confeteh?‘ to §tate the mt?‘er.¢' get f'orfA herein and wif/ terfify to their veracity

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One, a natural individual in f'ull life anda private citizen on /Uorth Carolina., has chosen to approach this

 

o
court with this pleading in good faith so that One way have One’s supp/icafion heard and answered

0 One has personal firsthand knowledge of the n-.at'i‘ers stated herein.

o One is a non»denominational follower of Yl'lhf//'l's l\latural taw and Positivc faw.

0 One does not consent to One's Rigl¢fs and h'berties protected by Congress being waived

0 One has never inowingly agreed or accepted the averments instigating disc iplinar_y proceedings against
One.

0 One is not a 'sovereign citizen.”

0 One is a subject of ille

¢ One is classified as a l/nited S’tates C'iti‘zen and thus also a Citiaen of' the Union § tate /Uorth Carolina
kepuibl)`c.

0 One intention and will b_l; this pleading is commencing federal action for_cinspiro.cies to l'nterl'em with

C'ivili€i'¢ht§ cliffqu fe ‘VZ U§C’-A § ‘l ?¢?5 (Z] obstruction ol'jusi‘i'ce (3} depriving persons of rights or
privileges Conspi'raoy Against Righfs of €i'ti'ziens ’l§ Q.S...§:£§` 21/ 'lJ D€,bl‘f`va-tr'¢h vic/elghi‘s Under Color of
faw, 13 Q.S.(:.A.§ 242,~ and will be /lsi€ing the l/nited §tates and /Uorth C’arolina /lttorne_q General to

intervene under 42 US’.C'-A (2000 H»Z}.
o ]URZ'S`DI€TIOA/: This court has federal jurisdiction pursuant to 23 [Z§€. 14 7331, over claims arising
under 4'2 U.§C.A 778‘3. The]urisdictional §tatute allowing One's Civil£igh.fs Cases is Z§j Q.$’.L.’.j_ §

1443),-, 28 US’CA 1343 and 1341), lze U§CA 1343 a 3, m 1331, anusec,13or}.

4!2 U§C-A- 1?83 creates cause of action again st individuals f'or the many federal rights deprivation

0
injuring One's antural rights and €ivil/Qighfs, resulting in extensive damage to One and One's Faniily and
friends.

0 ‘72 U§C.A 7?5’1 allows One the right to give evidence and to receive full benelii7c ofall laws and

proceedings for the security of persons or property subject to lite punishment
¢ l/€lV(/€-' Pursuo.nt to 23 l/§'€A. 73?7(b)(2]_. venue i's proper in the /Vli'ddle judicial disfri'cf in which a

substan fialparf of the events and omissions giving rise to the claim occurred Menue is also proper in the
Middle District pursuant to 23 [/.§ c-A- 13?1(bl(‘ll, as One current domiciles in the § tate of'onrth

Carolina

€vents, occurren cesJ and transactions are what One adirms took place in Forsyth County in February,
A/larch, /!/la_y and ]une of 2018 that give rise to One's cry and supp/ica?‘ion.

one affirms that One was physically presentJ called, answered spoheJ and seen in §uperior Court room
6-5 on 2/5/ 18 and 3/26/13. For reasons to be determined by an €guitablc Ruli‘ng, One has shoci€inglg
been arrested and Forced to make bond f'or both appearances consecutive/55 and has had One's verbal
pleadings for correction and relief1 ignored by One's Court appointed €ounsel and Bondsrnan [Kalesha
who both were verbalh/ wade aware of' the deprivations while being knowledgeable of’One's appearan ces.
One’s physical appearance was not recorded or given true credit by Ruf?in, l/alerie1 or Martin, or Patrice
on 2/5 and 3/26. This first omission was followed by an order f'or arrest For Failore to appear with a

43 000,3‘ secured bond, which upon information and belief was filled 2/2?/2078, and One did have a note
from the warrant squad left at ny house dated For 2/2 ?/20’!8‘- The second omissions was followed b_y an
order For arrest f'or Fai`lore to appear with a ¢?, 000.,¥l secured bond which upon information and belief
was H'lled 3/23/2015’, and One did have a note Froin the warrant squad left at ing house dated f'or

3/23/2013.
PARTI€§’

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One is and at all time material to the A¢¥:"rmed fornplaint was a citizen and resident of Winsz‘on»§’ale)n
/Uorth farolina

Def'endant Citg of M/ins?‘on §ale)n is a municipaliijr that is a poh`fical suédivision of' the state of'/\lorth
€arolina, was the Elnplo_yer ofpatrice and Allartin, and is and was at all times relevant to this
complaint responsib/e f'or the policies , practices and cusfon\s of the Forsyth coun}§/ hall oF]ustice and
the Forsyth County District attorneys Oi$rics }"he Forsyth coun?j/ §uperior €ourt cleré of' €ourts Off}ce
DeFendant Forsyth County is a wunicipah'z§/ that is a political subdivision of the state oF/Uorth €aroh‘na,
was the Employer of' §usan Frge, Ruifin §jrhes jim O'neill and is and was at all times relevant to this
co)»-.piainic responsible for the policies practices and customs of the Fcrsyth coun?j/ half of']ustice and
the Forsyth €ountl/ District attorneys O¢Fice, The Forsyth coun?j/ §'uperior €ourt C/erh of Courts twice
Def'endant Insurance companies have yet to he deternu'ne absent necessary discovery retrieval
procedures

Def'endants at all times relevant to this complain?l were duly acpointedpuhh'c actors acting under color
of law pursuant to statutes ordinances regulations policies customs and usage of' bi/insfon-§’alen-.
Forsyth coun';j/ and /Uorth Caroiina.

DeFendants Ru$n at all times relevant to this complaintc were duly appointed and acting assistant
district attorney f'or the Forsyth founty District Attorneg's OiFice, acting under color of law pursuant to
statutes ordinances regulations poh'cies customs and usage of M/ins?‘on-§’alem Forsyth counzj/ and
/Uorth Carolina He is sued in his individual capacith

Def'endan ts /Vlartin and Patrice at all times relevant to this ccmplainiL were duly appointed and acting
Administrators f'or the Forsyth County /'lall of]ustice, acting under color of law pursuant to statutes
ordinances regulations policies customs and usage of H/ins?°on~§'alem Forsyth coun?j/ and /Uorth
carolina rhay are sued in their individual capacities

Def'endants [/alerie and Aéigail at all times relevant to this co)nplcu‘nzlL were duly appointed and acting
Administrators For the Forsyth Countg Hall of’]ustice, acting under color of'law pursuant to statutes
ordinances regulations policies custom and usage of` iri/insfon-§’alem Forsyth county and /Uorth

€arolina. The_u are sued in their individual capacities

FACT§'
gets oFFacts Evenfs, and Occurrences and transactions on 2/5/73

#1

On Fehruary 5, 2013 One had the matter 7?€23`?06 ?S¢S’ scheduled For appearance in Forsyth C'ounty f-/oll of'
justice §°uperior Court Room 63. Eu#in §_yées with authority to act as assistant disfric;tattorneg, Catherine
/f/lc€orn\iclc, mg assistant counsel with authority to act as Court Appointed counsel, /Martin Mc€hee with
authority to act as §uperior Court]udgs and Valerie Tho¢n.as with authority to act as clequ clerk of courzl were
all present along with One in the court room One stayed in the courtroom until the matter thaiL One was
waiting to ask questions ahoot was calied, only leaving when the court was in recess but was aéle to return and
hear the matter One was to make an appearance in being called which was after the Z:OUp)n recess somewhere
around 3:20pm-3:¢/0pm. Befone my matter was calledJ probably around 3:15pm catherine McCorm:'c)€,
hereinafter, €ounsel, asked me to step into the hallway to speaé and told n\e thatL /€ulFin §_'yées wanted wake a deal
with me. Counse/ said Ru(¥in §_’ylces asked her [€atherine McCormiciU to asé One to plead guifij/ and just pay cost
and fines without imposing the sentence given é_q District C’curt]udge Can\ille Banhs Price. €ounse/ said the deal
was to not activate the districtL court decision, ( which was a probation decision ), and to allow One to on/y pay
Court cost and fines iF One was to simplyl plead guifly. The presiding judge and /issistant district attorney has

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been the came l'or mori h'tigations of the matter and neither chore to dirmirr the care when the complaining
parzj/ l'ailed to appear. Rui?}n §yher and /Vlartin /Mc§ee rel'us‘ed to dirmirr the care even though the complaining

o icer D.l. §parhs’ har never made an appearance in §uperior C'ourt. One' told counsel thai the other charger
from the came time this matier happen From the rame complaining odicer were dirrnis'red and thai the officer
had not been present the pari 4 timer One war in €ourt l’or §uperior Court f'or this‘ driving while licenre revoked
citaiion s‘o One think it will be dirmirred and pleading guif;j/ would not be wire beoavre One alro wanied a
declaratory judgmeni ar to One's' rightr From Yl'lh/l'/ and €ongrerr because One had been reading about the
matier and alro need rome injunction proceeding in itiaied Counrel raid exacil , "It's’ not going to get dirmig=re¢l.”
One told her thai Une alro wanied o get a dircovery proces‘r started For gueri)`onr to present thai One had and
thai rhe could prepare them before trial €ounrel told me thai s'he har told me before thai rhe could not make
motions’ l'or me or rpeaé for me, only anrwer my gueriionr. One told coun rel thai her oHice raid thai rhe war my
attorney and fm confused about the whole ret up. § he raid thai rhe would let the judge hnow thai One had
gueriionr but it"s’ a chance thai One could be charged with coniernpi. One told her thai One war nervo.os1 to ark
and if'rhe could make cure One can ray a few thingr. §he raid rhe will make rare the judge hnowr I'm conferred
and have gueri)`onr. We weni bach in the couri room, becaore we had rtepped out through the double doors into
the l'lall\vayJ and Une weni and rat on the audience front row and rhe weni to talh to Rullin §yhes‘ and One
heard Counrel whirper romeihing about my declaratory judgmeni to iean S:Vher. Then ,€u{?in §_’y.éer and Counrel
approached the bench and rtarted talhing to /i/iartin /!/ic§hee about rome thingr One could not make out. One
thinhr counsel war telling /Martin A/icb`hee about mg gueriionr and wanir f'or declaratory judgmeni and
injunctions'. lai/hen One war called up, One raw the ccuri reporter langa l/iner typing and One vague@ remember
everything raid before One rtarted talh'ing, but One doer remember rergonding and mg choice not to accept the
deal to plead guilz_‘y. One declined the oH'er to plead guilty and requerted éguitable Preventive Declaratorv Reliel’ and
J'udgeineni to prevent deliniie future harm relating to the irrue l'or the record in l'ront of Court reporter langa
f/iner. One told the judge mori of whai One told counsel and added thai Une need in wriiing a ruling what One’g
righ tr are From mg Father in lleaven and Congrerr, and about the irrue at hand and thai if coun sel could not do
much For being ‘f<'tand-b_g counsel’,’ {which §he repeaiedly raid rhe war to in rerpect to the attorney client
relat`onrhip,j, could he make her mg regular counsel becavre rhe hnowr how to present One'r arguments better
than One. /!/iartin told me thai One waived One’r rightr to counsel and One raid One doern't remember doing thai
and iFOne did it warn’t intelligent because One dian go to rchooll'or thir. l` he judge then acted the DA war he
ready l'or trial. RuH‘in §_'yher replied_yer and thai the current week would be a good weeh. Une objected due to One'r
dircovery derires' and the necessity of' time to prepare a rerponre, to avoid rurprires‘ about One'r alleged
clars’r`fr‘caiion ar a commercial driver and One"s' right to inters’taie and intras'taie travel and to fairly offer One’g'
rebuital to evidence and claims in complaint One alro rtaied thai One neea%d clarity in presenting argumentr
and needed to obtain a declaration and decree ar to the rightr and libertier One had and to enforce and reoure
thore righ tr and libertier. Oner reguert For depointment of' counsel war denied and One war told thai be
fatherine /l/lc€ormich would remain arrirtani counrel with no attorney client relaiionrhip ertablirhed and One
war told to leave the courir and be on 1 hr rtandby. One reris‘ted the oder to leave and told /l/lartin thai One
war confused ar to One 'r trial status and date and needed more claritg. Martin told One to inquire with
arrirtani counsel and to leave the court room before One war held in criminal coniempi- One nervouer s'tarted to
rpeaé and a baili(l' told One to make the decirion to leave becavs'e One war clos‘e to being held in contempt Ong
chose to leave and inquire with counsel who war rtill inride the couriroo)n. One acted the baih`ll` to get One 'r
arrirtani counsel’r attention becavs‘e One needed charity on upcoming couri dates time and deta)Yr. Oner arrirtani
counsel came out of the couri into the hallway and liriened to One 'r gueriionr. One arhed about how to receive a
notice of trial and war told ‘ioe don Jt have there here. ”One acted For a letier to take bach to mg employer. One
war told bg Catherine /i/ic€ormich to retrieve One Froln the public deFender odice. One headed to the public

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defender’sl enticeJ made request to the desh assistant Veronica, who then received instructions Frosn Catherine
/i/le€ormich to scrihe that One was also on 1(one] hour standby awaiting trial on the letter to One's en»pw_yer.
One asked Mc€orn\ich f'or discovery retrieval and she started it was an open discovery poh‘c_y and that One
needed to go to the DAs office and request discovery. One went to the DAs office and made request with the female
Cauoo.sian, hereinafter lady woréing that dag. The lady told One that an attorney could receive that only and to
ash One’s attorney for that information H/hen One explain ed the assistant counsel scenario the lady seemed
pualed and told one that One might consider waving the court for discovery One left to head home and further
Oner study in to the issues. One received a voicernail from the district attorneys oHice 65 a woman stating that
One could come teach by in the morning to retrieve discovery information although One made no specific requests

as to what was heing requested 7

#z 3/2/201¢?

On March 2, 2013 circa 3:4/0 p)n., One was conversing and handling ai*?'airs downtown bb’inston §alem Forsyth
€ounty when One was forcibly seized from Sehind try surprise 65 the right wrist and One's wrist was place and
confined in shachles, and One was told that One was under arrest f’or missing a Court date ég a local Bondsn¢o.n
named €.]., a blach male person working with Princess bonds and was Further shackled and n\oved. ritter heing
start/ed and fbrcihly moved against Ones will, One inquired as to what court date was at issue and war told
thata warrant had heen issued on the Z?th of'l:eéruar_yJ 2018 For missing two (2.) court dates For traffic
citations issued by D.t. §’parés. One was put into a panic fight or flight +node, One got real scared and had an
accelerated pulse, and nervousness aéoot the underserved punishments ahead One would he Forced to endure. One
replied that those charges had been dismissed 55 Can».ille Banhs Price in One's f'avcr. The Bondsn\an checl:ed some
databases he had access to and told One that there was a confusion on the surface and that f’urther inquiries
showed a failure to appear order For arrest issued 2,/ 2 ?/ 2073 The BOMdsman showed One a phone screen with a
date listed in some information database with the date 2/2 ?/2078. One believed the date showed the date the
order had heen issued One was taken é_y the Bonds:nan to the Forsyth County Detention €enter Magistro.tes
area and given a 113000.,5' hond For release after hein g processed and held 6 hours in holding cell on /l/larch 2,
2075’. Ail Actors Failed to keep this error in rec ord keeping from resulting in multiple injury resulting in damages to
One hecavse of that error. One is then classified as ’!€ith Amendwent (/nited §tates Citiz>en and was not
afforded egual protec ticn privileges immunities and due process afforded to all /Uorth Carolina citizens langa
Vines was the court reporter in the courtroom Catherine Me€ormich was present with One inside the superior
court room 6-6 on Fehruary 5, 2073. One's lady friend Yrisha irl/hite was inside the superior court room 6-£» on
Feéruo.)y 5, 2078 present with One. Befone One was processed 0ne had a dr'¢?'erent Bondsn\an, Kelishc. garrino,
come to post hail ég using ones celtohone while inside holding cell. One's gondsrnan came before processing hut
One was still processedJ stripped, tagged photograph, clothed and put into a holding cell where One sat upset
and unease in what One Felt very was uncomfortaéle with no Food or beverage for 6»? hoursJ then released One

received another C'ourt date f'or the 26th of'/March

#3 3/2 ¥/2013’

Patricia /'/ennit was authorized to act nlinisterio.l@ on /f/larch 26“, 2018 and she did not dismiss this case when
the complaining otticer was not present on this dag. iean §j/hes was authorized to act as the District Attorne_u,
/ihigo.il §'rnith was authorized to act as the Clerh of Cour't, and lange l/ines was the Court reporter. One made
an appearance again and had irisha video tape with One's phone One walking in court room 6-§. One was with
iris/1a White again as a witness. Catherine Mo€ormic.é was not present this dag. Patrice was very cordial and
polite to each and every defendant hefore her. Trisha and One sat until One's name was spohen é»g riding Eu$n
§_’yhes there were three people left in the pews, not including irisha. I felt comfortable waiting to he called

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hecause Patrice seemed so honorahle. I was n surprised at how she let a pro se litigant approach the heneh with
Eu(?in. I rnen fioned lDatricef<x honor to irisha a f'ew times while waiting. When Ru¢izin spoée One's nameJ One stead
to leave the pew and approach the l'ront, but Ru;?'r`n held his hand in a stop sign and told me to stay where I was.
lie §pohe to Patrice about the name of the charge and who the attornejl was. /~/e then asked For trial to he set
f`or that week I said ”olgjection your honor, I.”and was cut of he Patrice surpriseJ snapping at sne, ”éel'ore_you
hegan to spew any shore oF that mouth diarrhea, I' ll advise you that anything_you say will be used against you...”
§he said some others things and mentioned thallt f could not speak since C’atherine was not there and l' saw that
ianga vines was typing while simultaneously realizing Patrice said mouth diarrhea and got more oi?:'ended hg the
change in character from the other defendants who had previously heen in the same courtroom as I in Front of
the this very same Patrice. l'hego.n to panic and realized thaiL she was in on it too ohviouslg. I hego.n te get
enraged at the éla?‘ant mistreatment and unfairness of' Patrice when I had given her so much praise just
moments earlier. 1' fell even more singled out due to some personal animus shared hg the named defendants f'or
not accepting the terms of their shared hnowledgeable act.to get sne to accept the conlracit to plead guilty and Fer
inquiring into the resfro.in?‘t on ing liherties. The similar events that happen with Martin /Vlo§hee happened in
this watter. _Z' was told to leave, and threatened with criminal contempt only this time the rage made n\e shout
thailL I’rn going to file claim For this deprivation and Patrice said something ahoutjail. I asked if ing appearance
could he noted f’or the record and I left nervous and sought a letter from the puhlic defenders ogice letter for n¢_u

enos/oyer and was nervous all afternoon and night waiting to talé to Catharine.

#s 3/2?/2015’

I talked to catherine on luesday the 2?“‘, and l' recorded the conversation and saved into my data lirr evidence
later hecaose this had happened before and I f'elf she was a party to the conspiracy to deprive one offederal
liéerties hecaose l' would not do things their customry erroneous illegal and unfair wag. In the voiceinail;_you can
hear her acknowledge that she hnows I was there and that she would help me if situations where warrants are
issued and I was present and to just let her hnow. §he states she was aware something Jjé.»‘zarre”happened on
2,/5/ 18 and 3/2, the arrest date for the 1"‘ unlawful Fta order For arrest warran t. §he also said that she was
call me in the morning to give one a more accurate time of' my trial since they were only on trial number one that
iuesday afternoon when Ispohe to her, and she said thatRuHin knows l' was there because they set the matter

f’or trial and thalI was trial number 5 and that mg trial would not he this current weeh.. I told her eng
concerns with losing hours at mg'joh and she said she understood l was at woré when she called and I Felf

hatter that the trial was not the same week hecavse l' need to woré and mate money to l'ed myself and ing
daughter, ing pets and pay ing h.ih's.

#5 3/23/2018

/iround ?`:30 I received a call from the public defenders oHioe receptionist saying thafl' need to he in court in the
nest hour. l' told her that Ijust taléed to Catherine and that she said that ing matter was not this wee/c so I
went to work and was not physically able to mate it there in one hour. she said she would talé to Catherine to
see if she could hold the matter open untilIget there and to keep them posted In search and asked around the
joé hut people are not able to leave right then. lt was very early in the workday. /l/l_y honds)nan Kalesha called ;ne
and said the courts told her I agreed to an appearance on the 28 hut slapped court and f need to get there as
soon as possible I told her ahoot my situation and told her id heep her posted aéout 2 hours later, at 11,-3? or
so, the same assisi.‘o.nlL called we and left a voice mail which I saved saying g that mg matter was the last matter
cf the day and could not he held open heco.use it was already haled open as long as it could he so a warrant was
issued for my arrest hut no hand had been issued _yet. IFelf n\e hear drop and felt a tightness in ny chest and
sad at the same time that another warrant was issued For mg arrest. I remember the last release paper saying

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ny lta was onZ/§/ 1)?/. /l/i_y bondsman called me later alter that last call form the PD office and said thatIknew
f had court and I should have showed up. I told her whatI thought about the conspiracy and she did not

bother me until 5/30/201¢9/

#c

After the ZS¢"`, not sure what exact date, I paid someone to proo{'read and serve my title "lZ civil rights federal
claim to the federal court according to the FR€P. l' received a green certified mail receipt signature card back
dated mg documents had been received on the 30th of'/ipril. I was reh‘eved that mg claim had been file and thatI
would be getting help form the attorney general and the Federal courts regarding these deprivations. §adlg, l'did
not receive anything the first or second week alter about a court date or any response from the federal court. _Z'
knew I had 30 days to hear something back so I waited until the 30th day to be sure I wasn't rushing the issue.
During this time, I had another court appearance where Catharine was the pubh'c defender and f was afraid to
go around her in court because I thought she would just have me arrested and I did not have the money or mg
aH'airs in order to be able to just randomly sit in jail for a non arrestable offense court appearance I did not go
to that appearance out l'f'ear but I had no problem getting the matter recalled or turning myself in f'or that
matter because l' had never missed a court appearance f'or that issue. f was hoping mg claim would be heard and
I would be able to get both matter taking care of' the equitable way, especially regarding Catherine, who Il'eel I

in on these deprivations ol'mg l'ederal rights.

#? 5/30/2018

I received a voicemail around ?30 pan from ny mother saying that the bondsman was talhing about kicking her
door down and her having to pay 4000\,3' because that were looking for me to turn mgselll in. I told her that this
was the 30'“‘ day to hear from the federal courts and I did not and it's no coincidence she calling g this evening
telh‘ng me to turn ngself’in. I called kalesha and informed her of the mailed claim, the 30 day and the

conspirai.:_j,¢J she began to talé in circles, never answering ny question of' how long I had to turn myself in before
she would come after me. l' had mg mother on the line with me and she can attest to whatI am saying about
how the bondsman was pressuring me to turn mgsell' in on an unlawful warrantJ regardless of` me telling her that
she knows I was there and she should do something other than encourage me to turn ngself' in without a set
bond amount in place For. Iasked her for more time to make sure may claim was file .',‘orre.r:tlyJ about "l daysJ and
she refused she began taunting me on the phone saying how things were about to get bad l'or me lbr not taking
her her and that I should have a nice sleep in mg bed because she is going to have a nice sleep; in her bed. I was
upset and angry at the indirect sarcasm con corning mg liberty and mg mothesz emotional tranquih`ty. I even told
iba/osha about the federal statute about being aware of a conspiracy and remaining idle or participating in the

conspiracy

#e c/¢/'re

On Friday]une 3 early in the hot 80 + degree weather, f was doing lawn woré at mgjob and had just Finished mg
morning cup of co{Fee when I turned around and noticed and unmarked abnost been police cruiser and One single
black male uniform police odicer approaching me. l' learned this was Olficer Ferguson. As Iapproached him mg
employer koss came out the f'ront door and Ferguson proceeded to grab ny handJ culF me, search me, and ask me
did I have a bondsman or was that the same bondsman that called him. I told him it is the same bondsman
that called him. Ferguson moved me to the back of his car, that was still on and running the engine was running
and exhaust fumes were leaving the mud$'er and tai/pipes in the rear of the vehicle I asked OH¢icer Ferguson to
move me because the fumes and heat f’rom the exhaust was making me nauseous. He said that_[ would be ok. I
asked him could f make a phone call because I war very fearful and wanted someone to know what was happening

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to me hef`ore I was thrown away in a dungeon for a month or so. ftc said _yes and aliowed me to te// enter the
security code in ing phone. As I called ii'isha I hogan to sweat profuse/y and aséed Ferguson to move inc away
from the exhaust /-/e refused I hogan to f'aint and he got angry and toid ine, shouting, ”dont fai/, stop failing
_you better not faith _Z' remen\her waiting on the ground with who I thought was Ferguson , holding me up bg the
shoulders while mg tower body was on the ground. When lasted iff could stand up hccause the fumes were in
ing face wore now, l' hear Ferguson sayJ ” when _you stop acting? I thought he was behind inc hut his voice was
further away then behind n\e. I/oohed over ing /ef`t shoulder upward and saw a f'rown on his face white he was
looking and touching in a sore/ling motion ing phone. I asked if'l' cou/d stand up again he said “when you stop
acting 'f l' got enraged and afraid for mg life at the same time and fed up with the injustice and shouted that I
was going to 'stand up right now./“,' the oHicers resisted ine, then eventually /et inc up, and I demanded fm he
called and that I he taken to the hospital I was diagnosed with suiFering fron- e)<posore to air pollution and
received a Z¢.’)CI¢IJ'.,EIl hill from the hospital weeks /ater. I was taken to jail after ward and had to pay another 500
do/lars to bonds S_t,r An\g Sccause of the fruits of the poisonous tree pianted initian tag martin /Mcé`eg and ,€u§f};,,
§j;hes, and then watered and nurtured hg Patrice /'tennit, and other named defendants the chain of events

following ing appearances of' 2/5 and 3/26:

0 The acts and omissions that furthered the conspiracy are as foi/ows:
£ui?in §yhes‘ oh'd not dismiss the comp/aint and chose to continue prosecuting One for this traffic
infraction against One despite the comp/ainant f'aih`ng to make ang §uperior Court appearance

/Martin /l/ic§hee did not dismiss the comp/aint and chose to continue prosecuting One for this tra$c
infraction against One despite the comp/ainant faih`ng to rnal:e ang §'uperior court aopeo.rance. /!/iartin
afsc issued a order for arrest for faiiure to appear on 2/5/18` with a 4000.,§‘ secured hand even though
One spoée directly to /!/iartin Mc[)`hee and /ooked directly in his eyes as he threatened inc with contempt
of court on 2/5/2018.

Patrice Hinnit did not dismiss the comp/aint and chose to continue prosecuting One for this trah¥c
infraction against One despite the comp/ainant f'aih`ng to make any §uperior fourt appearance Patrice
also issued a order f'or arrest for failure to appear on 3/26/18 with a 4000.,$‘ secured bond even though
One spoée directly to Patrice and /oméed oh'rectly in her eyes as she threatened One with contempt of
court on 3/26/20’!8‘. §he even toid One she would note ing appearance but /ater issued an order for
arrest for the same day she ta/hed to One face to face in front of'RuHin and Aéigail.

Catherine /Mc€orn\icé has not made ang motions on Une’s hehalf' did not mate any attempt to correct
the courts error in issuing the order for arrest at ang time hef’ore or after this arrest have heen wade
even though she had know/edge of’ One’s appearance and the order for arrest

VA/erie thomas foti/ed to note On£i’ appearance for the record, dochet, and calendar on Z/ 51 creating the
i/lusion that One made no physioaf appearance suéseguen fig resu/ting in a warrant for arrest f`or failure
to acpear.
Ahigail §ndth failed to note One’s appearance f'or the record, docketJ and calendar on 3/26, creating the
i/lusion that One made no physical appearance suéseguent/g resuiting in a warrant for arrest for f`adore

to appear.
jean §ykes made One stay in the audience when One tried to wa.lh to the table where the other

defendants went that dag.

Ahigai/ and l/a/erie did not make sure One was noted for appearing on 2/5 and 3/26 and have records
going against that fact in the H‘i'e. €atherine has not fixed and of these errors as mg Assistant Counse/
hut One have a recorded message from her saying just let me hnow and ftl fix it"to.ihing about the

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warrant and how the same thing want happen again, hut it has except One haven’t been arrested on
the second unlawful warrant
Clerh §usan Frge is held personally liable and on liahle ohz¢`ciol tend for nu‘sfeosance of Valerie Thomas,
clerk present on 2/5/201¢9 in §’uperior €ourt room 65 and for misfeasance of’Ahigail §no‘th, clerk
present on 2/5/2018’ in §’uperior Court room 66. §uso.n Fryc Alan\e was signed to Each order for arrest
for failure to appear.
/(alesho. Barn'no knew of the unlawful arrest pursuant to documents issued to her éy the courts for a
warrant issued for fta on 3/26/2018’, out tried to passively coerce with the threat of "things getting bad
f'or me"to turn nyse/f in with out time to get ny aH'airs in order for an hogus warrant she alleges was
set for a appearance docéet f'or 3/25’/ 18 and that the warrant was not f'or 3/26/20'!3.
Ferguson, communicating with halesho. and told to come to One'sjot» and arrest One did so and
attempted to have other officers mate the arrest and transport One to the detention center, hut
no's?‘reo.ted one and exposed One unlawful@/ and intention ally to air pollution and One suhrered damages
The improper motive to escape hand haloility by deceiving One in regards to rights asserted to use the
order for arrest and false information to deprive One of Federallq Pro tected geigth for attempting to
assert Ones rights with equitable remedies of declaratory judgments and to protect those rights with
injunctions instead of' accepting 13an §j/kes oiF`er to plead guilzj/. One wanted clarity on why and how
§upreme (.’ourt Rulings and determinations involving inter- and intra- state travel applied to Une in
respect to contractsJ classesJ and other documents One was a party to or was part and parcel to. OneJ
upon information and beh'efs, éeh'evcs iean was attempting to escape some type of' financial obligation
on his Sond f'or the damages One had suffered from several injuries to One’s personal property, including
out not h’miz‘ed to Ones natural and civil rights.

Actual case and controversy is at hand.
Aotual injury resulting is and can he tied to named defendants because the omissions included §tatues

of VHWl-l s taw and Congress ordered to he followed so that justice Could he administered properly and
so thazz One situated as One was would not he damaged One is lite/jr to win because Of the comity clause
and judicial Common law, showing those similar situated as Une war', receiving favorable deternu`nafions
similar to the r¢=:liefl one seeks

Emergency Intervenfion is required from the Attorney Eeneral and the Department of’_]ustice to remedy
past and prevent further continuing and adverse effects of' constant and irreplaceable harm f'rom

natural and civil rights invasions.

Defendants were acting ministerial with the obligations to tell the truth act fairly and stop improper
tactics Our common law reflects the solicitors are responsible for prosecution control and management
ofl case with good faith discretion without having the ‘I don't care attitude “

The District attorney office and Forsyth C'ounty Hah' of']ustice are h’o.ole for repeatedly using the
[/neonsti?°utional one-hour trial notice non-written policy and custom to deprive me of'nwl right to he f'ree
from unlawful arrest, equal protection of' the law, the privileges immunities and rights given by mg Father
Yle/'l as retaliation for not contracting with Rul?in §j/kes. Y`his is a common inown unconstitutional
policy amongst the entire Hall of]ustice and the knowledge of this unconstitutional polic _y can he found
through interrogatories and depositions ofl several odicials in the f'lall of]ustice and named defendants
One did not violate an_y statute giving valid and lawful reason f'or arrest or imprisonment One was not in
dishonor or default on Fehruary 5, 2018 or M’aroh 26, 2078 One is classrfied as United §’tates Citiaen
and afforded egualpro?‘ection, privileges inonunities, and due process aforded to all lllorth Caroh‘na
citizens. One knows all afima?‘ions to he true and hnows no evidence existing to establish the contrary
One has other documents and witnesses ready to he used in trial to verify wha?c One is complaining

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aSout. All the cameras and visual recording devices in all l'lall of]ustice areas mentioned will show One in
plain view in accordance with One 's ag'¢i‘med declaration under penalty ofpe)jurg. There was no probable
cause because or reason to helieve One had committed a crime and the warrant was invalid heeaogg

The iii/inston §alem municipalil§) hiring Patrice is liable for her actions in office under this local
government municipal One flour §tandhg lrial /llotice policy and that insurance company of' that
municipality will need to he found through discovery procedures

Insurance Companies giving surezj/ hand of' named defendants have a h'ahilitg to cover the damages
generated h_g named defendants hut One needs to initiate a discovery procedure f`or the names of'
companies focal government can only act through its ohzicials and a municipality is liaéle ifacting under
their custom, representing oficialpolic_y, a pattern of’ this persistent practice suficiently known and
approved ég city oHicials.

Forsyth County fla/l of']ustice and the District Attornegs oHice ohviouslg does not train their actors on
the importance of proper constitutional notice procedure fill named defendants are municipal actors of' a
local government in Forsyth C’ounty, Winston-§'alem Alorth farolina so they are liahle and were acting
of of' udicial municipal custom and unwritten one -hour poh'c_y. These sins and inig'uities were committed
intentionally to get One to stop seeking a declaratory judgment and injunction on One's alleged tral,i‘ic
citation matter and to get One to accept Rul§zin Js plea ofguilij/ deal.
fill actors are municipal actors of a local government in Forsl/th €ounty so most are personolg; liable and
/ill named defendants took an oath to not step over their boundaries and not to do things Congress
never allowed them to do lawfully and to honor }/l'lwl~l . All the defendants have been in other settings
where congress gave them orders and commands to follow so that One would he treated fairly and that
justice would he served. All let these events happen in f'ront ofl their own eyes on 2/5 and 3/26. ft Fel'f
h')€e that were not caring alooot ang of' the rules or One rights
/i/iunic.-pal defendants in Ones claim are District Attorneg office and Forsyth county l~lall ofjustice f'or
repeatedly using the unconstitutional One -hour trial notice non-written policy and custom to deprive me
of mg right to he f'ree from unlawful arrestJ equal protection of the law, the privileges immunities and
rights given hg mg Father }/l“il»{/fl as retahation f'or not contracting with the courts to agree stop
inguiring about mg liberty restraints and to plead guilty instead
This AH;`davit in tends to state t/nlawf'ul action or inaction leading to non-comph'ance with statutory
requirements intended to protect One creates liahilitg to One who has heen injured by acts of`
commissions or omissions. A'll actors mentioned ky name were acting pursuant to ministerial duties such
as, M'artin A/lc§hee, .Datrice l'lin nit whom administered presumed case # 7?€!?§?0633?, Di£’triot
Attorneg Eulf"in §_yhes, and Valerie l`homo.s and /ihigail smith as well Court reporter Tanga Vines, who all
were physically present in the courtroom while One appeared and conversed with the iean and A/iartin,
and all schooled in law with courtroom experience in multiple cases.

One's intentions are to file claims against individuals and join the municipah`ties and insurers as a
third-party defendant because this is a pattern and has happen to me on 2/5/73 and 3/26/13.

Y`he Unlawf`ulArrest orders and suéseguent actions are a pretext to other illegal conduct hecause this
allows One to be deprived of liberty and other rightsJ prir.u‘legesJ and immunities unconstitutional@.

The said actors are h’ahle directly and f'or assisting Faih`ng to take reasonahle action to prevent the
arrest detention and supervisory officer whoi:l directly participated in or negligent failed to prevent that
arrest and detention.

Becaose /Uamed defendants except Catherine, and their agents were acting under color of` law, custom,
or § tate authoritg, and conspiring with one another to do such, One has the right to seek redress from
wrongs such as, but not limited to, due process and egual protections violations concerning selective

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enforcement oflaws, exculpatory evidence not hein g admitted and nu'nisterial usurpation and oppression
because federal deprivations occurred as a result.

]`heir wind was guilty intending because they all are schooled in law and have courtroom e)qverience and
Congress put the United §tates C'onstitution and Federal §tatute to protect ag Citiacns Fron\ injuries
and invasions of natural and civil rights. Theg took oath to uphold the positive law and United §tates
Constitution and told Yl'll»{ll't and man they would he honorable in doing so. There was no cause or
justification for these actions hecacse One appeared oath timesJ after taking off wore for over 76 hoursJ
sitting in Court room 6-6 long hours, taléing t'ace to face to Ruft'in §_'yhes, Martin Mc§hee, Patrice
Hennit, and in front of' Valerie Tho)nas and Ahigail §no'th, just to be later arrested as if' One never
physically spoke in front of the stenographer Tanga [/ines the other people One named, while One was
inside €ourt room 6-6 This process of'teM"ng One that One can't get court Appointed counsel and not
letting One get discovery documents regarding the complaining o$cer adidavits, not telling One what day
or time Ones trial date is and calling rne less than 48 hours after One make an appearance at scheduled
Coth date, to tell One that One has 'l hour to he in court or One will be arrested and maybe given a bail
is a constitutionally inadequate process hecaose Une is not given a f`air chance to prepare for trial when
One could be facing jail time for a traiFic citation that One has paid the Departinent of` /i/iotor l/ehicles
fines For already and wade attempts to tate care of' the lawful wag. Being arrested and having to use up
most of' mg savings after One is already taking days out of1 word to be in court in not f'air to One or ang
under person put in a hard spot like Onej especially when on both those court dates other people got
specific dates and times that were at least a week awag.

Def'endonts as of now and prior to further information received upon discovery are Euf}"in §_’ykes and the
Forsyth County District Attorneg Odice and their bond insurer and sureties /Martin Mc§hee and
Patricia f'/ennit and their hond insurer and sureties, I/alerie Tho)nas, /iéigail §no‘th, §usan Frge and
their hand insurer and suretiesJ and fatherine /i/lcC’ornick and her hond insurer and sureties-

Eecause of the arrest and detaininent on /i/iarch 2, 2078, and june 1, 2073 One couldn ’t perform One's
customary rites §hahbat rites, or go picé up One's 105/ear old daughter whom One has legal and physical
custody ofjointlg with her mother that evening and had to figure out how One would hug Food and make
another payment to catch up on eng rent because 0ne had to spend money from savings to pay "inG,SJ and
to make a second initial 5£3'6|`,8J hond.

lilly stomach muscles and got area started aching and viorating fast with ing heart heat because One
was trying to not have panic or get an anxiel§/ attach from being in a jail all of' a sudden when One was
just enjoying heing off of1 woré. One noticed that since Fehruary 5 when One mentioned my Father in
heaven, One did start to get persecuted more and the Bihle says things like this will happen when _you
confess_your faith among men.

Def’endants al>used discretion h_u going against oath to uphold Constitution and ensure justice h_g doing
the complete opposite by not following the commands Congress gave to treat One fairly and use safe steps
to n-.a.('e sure things are done the lawful wayl and VHM/tl 's way in love, honor and respect f'or Y/-/WH ’s

creation
These injuries are not in ing host interest or the puélic’s hecause it wade n\e realg; doubt our justice

sgste¢n until One read and higher Court rules and remedies.

/\lan\ed defendants should not he excused f'ro:n enforcing laws in One's favor and ég not ensuring the
correct laws and procedures were enforcedJ caused One to lose /"ree¢clon-_J time with loved One, Peace of’
n.inof appetite, and stopped me from participating in ing §haééat ceremonies of'rea.dings, feasting, and
candle lightings, and did cocaine a law hreaéer under pretense of'o§?cial conduct and One énow our great
state does not condone such wicéedness and One is not holding our honoraéle state liaer for the

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intentional acts of this particular od'i`ce and persons who acted contrary to righteous reasonable
inindedness.

These proceeding were not fair and impartial pretrial hearings because One wasnt allowed to act
guestions, have Constitutiono.hly edective counsel wasn`t given adequate notice because One was told of
ing trial date the day of and given 7 hour to arrive at the last ininute, then had an order for an arrest
issued 2 times, each for dogs One has proof One made a physical appearance.

€onstitutional rights under (/nited §tates Consti'tution Aniendinent 14 section 1privi'hgi,=s and
immunities clause, the equal protection clause, the due process clause was violated such as the right to be
given a specific trial date and time and assistance adequate notice, the right to have ing appearance
record h'lce other defendants who made physical appearance in §uperior Court room 6-8 on February 5
and A/larch 26, 20’/3 in Forsyth C’ounty, the right to be free from unlawful arrest, the right to inquire

in to the restrain ts on On es h'bertg, and others mentioned in this Aftidavit.

These acts were committed because natural persons used the clothing and power that comes with the
office to carry out their personal plans that were not intended to fairly administer justicel RuHin
controlled the two fZ] trial hearing date calendars and did not give inc or Catherine a specific dog or
time for trial.

/Uarned defendants wanted me to be emotionally distressed because they treated ine di'§erently than the
other defendants on those days by not even letting inc space and telling inc One was going to be held in
con tenipt if One hept trying to talé and ask questions about a specific trial date so One wouldn't be
surprised bg stuff The invasion of ing rights bg defendants caused lasting damage because One still gets
that heart dropping feeling when going into the Forsyth coun?j,i fla/l of justice for this lraff]`c citation
and One thinhs about how One was unjustly and forcibly put in jail on such made up grounds, and gets
very paranoid and irritable, even to mg daughter and girlfriendJ because One has so many other things to
focus on like woré, ing Associates Degree as an Autovn.otive lechnician, being a dad, and it's hard to relax
when fan afraid everything could go down the drain bg being in jail waiting for the errors to be
addressed and corrected /l/ly own public defender hnows one was in court because she was also there on
Februar_y and told ine that it would seem "bizarre ‘if the same thing happened again, but it did

The agreements or communications consultatibn, cooperation, command from which an agreement can
be conferred are that they allhnow the 74th An\endrnent clauses mentioned in this Cornplaintyet no One
stepped in to ensure justice was properly administered Theg got paid for corning to worh and used their
job position to carry out a plan to cause inc to go tog'ait Theg are connected to the in..,r'uijiJ damage and
liability because had they all mentioned this, One hour standby and continued to use this custom to cause
n~.e to have hard/g ang chance to prepare for trial

flad the defendants taken basic steps prior to and following the One's hearing to investigate the facts of
the watter, instead of blindly investigating only to corroborate and conspire against One with gui`/zj/ plea
agreements and deprications, they would have discovered the others charges issued at the same time as
the currentL one ahd be terminated in One's favor and the complaining ofi`cer has not wade a superior
court appearance

Prior to and at the time of the unlawful order for arrest and arrestJ the Forsyth county l'lall of justice ,
bg and through their policy mahers, rnain tained a polic_y, custoin, and practice of failing to adequately
train and supervise officials in connection with fundamental investigative and pre¢trial tasl's securing
the rights of defendants pursuant to constitutional due process guarantees

The Forsyth county hall of justice polic_g,/J custorn, pattern, and practice of official misconduct and failure
to train and supervise o$`cials were reflected bg the multiph acts of misconduct and illogojh/ committed by

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multiple fla/l of justice odicials in relation to the failure to document Oner physical appearance and
response and failure to appear arrest order and execution

Prior to and at the time of the unlawful order for arrest and arrestJ the Forsyth county District
Attorneg's Oi?'ice, , by and through their policy mahers, maintained a poilic_y, customJ and practice of
failing to adequatelg train and supervise officials in connection with fundamental and recurring
constitutional duties.

Pursuant to this Unconsti`tutional ’i hour same week trial notice pohcy, customJ and practice

polio yma£'ers for the District Attorneg's office abdicated and effectively delegated the authority and
discretion to conduct and supervise investigations and proceedings with deliberate and rechless disregard
for their constitutional and ethical duties fis a result, ruffin hnowingl_y and and routinely engaged in
investigative and prosecutorial nu'sconduct and condoned and facilitated the misconduct subordinates
and others actors in a climate ofimpunitg.

fn particularJ as a direct result of polio y makers and superiors abdication of authority for the
s’i'.ipervisionJ training, and disciplining prosecutorsJ assistant district attorney RuHin routinely ,
notoriously, as a matter of polio _y, customJ and pattern and practice violated constitutional and ethical
norms by deliberately and rechlesslg faih`ng to investigate hn own grounds for dismissal in order to permit
him to prosecute one without ang form of equitable relief and engaged in additional acts of prosecutorial
misconduct aimed at securing convictions at all cost.

fill of the acts and omissions committed by the defendants described here in for which liability is claimed
were done intentionall , unlawfuliji, maliciously, wantonly, rechlesslg, and with bad fai'th, and said acts
meet all of the standards for punitive damages

fhc Forsyth County fla/l of]ustice in the district attorneys office bg in through there finalpolic_ymahers
maintained a policy custom and pattern and practice of promoting facilitating Md condoning improper
illegal and unconstitutional investigative techniques and pretrial notice procedures including but not
limited to the following disregarding Amendment rights of criminal suspects and defendants

As of 6/25/20’73, One most recent scheduled appearance catherine and rudin were both present along
with i for calendar call and both refused to give One an adequate and fair notice of trial. One does not
know the name of the presiding Administrator on this date. £uf¢in told him my matter was set for Té.
One feels that the conspiracy to keep me deprived of mg rights is still in motion and U/UE /UEED.S`
E/MERGENCY A§SI§TANCE because One is in fear of mg civil and natural rights being violated and me

suffering more injuries because of this conspi`rac_y. I received another letter from the public defenders

office noting mg appearance

Damages

The disregarded known consequence was deprivation of Ones liberties, Protections, privileges and
immunities, natural and civil rights which would cause injury resulting in damage to One men tal state,
emotional trac-.guilit'yJ physical body, and the mental and physical well~being of third party family
members and pets.

The actors conduct was shocking because One and others know justice to be based on truth and
following rules and fairness and they acted the opposite The injures are the result of the in itial
deprivation of the right to a fair hearing with fair and impartial public actors and every event
afterwards including but not limited to the unlawful arrest and detainment. These sins and iniquiz_‘y were
committed intentionally to get me to stop seeking a declaratory judgment on my alleged traffic citation
matter and to get me to accept Eui?'in's plead guilzj/ deal and all the actors took an oath to not step over
their boundaries and not to do things €ongress never allowed them to do lawfully and to honor Vl'lll/lt .

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One cuHZered anxie?j', emotional and mental dicturéo.nce and di.r‘trers', lose of's’leep and leave of' mind
wondering who is' around waiting to kidnap and fay One did a crime when One didn 't. One ha_r s’pent over
.7,‘/00,$‘ dollars in hondr)nan f'eer since being wrongly arrested and an acting for 1,000, (JCJC|,£d in
compensatory damagec and EO, 0000,5‘ in punitive damage§ with the total heing equal@/ taken out and
paid hut each individuals insurance bond to cover the damages' they are liaéle f’or hecaus‘e they all had an
ohligo.tion to pre§erve ny constitutionally protected ri_¢,‘ht.f'.

One war deprived of' liéerty and personal property righ tr, including natural right.r of’property and civil
ri_¢;hts‘ rem/ting in One gen s'ing extreme fright and heing taken off'guard 153 such forcible encroac hinen t§.
One war eni-aged and frustrated at each unjuetified detaininento. One did not violate any statute giving
valid and lawful reaeon f'or arrest or imprisonment One is’ s’eehing equital)le relief and damager f'ron.
f'als'e arre§t, false imprisonment f`right; choo/c mental dix'turéance puhlic en\éarra.rs‘»nent emotional
dix'trers‘ f'rorn f'ear of' repeated unlawful deprivation§' of' federalhj rec ured righ ts', malicioug proeec utionJ
denial of’ equc,lprotecv.“ionJ privileges' and immunitiex‘J and due procecr, and deprivation of’ civil rightr under
color of'§'tate lawJ and con spiracies’ to cau.r‘c dcprivo.tions' and to oértructjux‘tioe. One ic in fear of’
repeated conetitutional violationr resulting irreparable harmJ cuch a§' oeing arrested and detained 55 on
order f'or arrest f`or daily failure to appear at court section where One did appear and mined another
day at word which i§' ahout 12.50¢?{ per hour f'or 8 hours' hecaus‘e every Court appearance One have to
take a f'ull day oif'f'ron\ work Une hac n\irs‘ed over 20 hours at One 's’ occupation due to deprivati¢ms1 and
violations One hay been the victim of rini/ar part deprivations where One war maliciously and falsely
arrested and imprisoned without warrant and the charger were terminated in One’s’ favor f'ro¢n charger
stemming from the came officer 224 . §parh_<’

}"he violationr of' federal righ tr are the protected right of} f'ree s’peech, f'air trial, the right to be f’ree
fran ll/lalicious‘ prosecution righ te to he f`ree f'roin unlawful deprivation of' liberty, the right to he treated
f'airij/ as other Court defendants in 6-6, the fight to due proces’r, right to worship Vl'llllfl uninterrupted
the right to he f'ree f'ron\ assault and hattery and hidnapping.

}"he action ofl the defendantc deprived on of' civil righ tr under the f'ourth, fifth, eight and 14th
amendments to the l/niterl § tates1 constitution and under the laws of'/Uorth Caroh`na.

l`he bad f'aith acts and ornirs'ionr of the defendant caused One to lee wrongly eeiaeaj an unlawfully
arrested and euéject to illegal §earcher and cruel and unurual punishment during the course of' One's'
incarceration f'or an oi?"`enx\e One did not commit

The defendantc caured Oner the Following injuriee and damage_<', which were foreseeable to the
defendant§’ the time of’ their acts or omix's'ionr and which continue to date and will continue into the
f’uture.' pain and cufering; severe mental angui§h; emotio nal di.c'tre.c's; lose of' family rela#onrhip.r'; severe
prychological damage; lore of' education al opportunit},/, lore ofprofe§ri`onal opportuniz§/; lore of' income;
out-of`pocéet legal e)qpens‘er. l'nf'liotion of'phys'ical illnes’.c'; hu)ni‘liation, indignities'J and embarrars':nen:€'
degradation; lors‘ of natural pryc hological development; and rertriction_¢‘ on all forms of'pers‘onal Freedon~,
including out not h'?n.ited to diet, cleep, personal contact, educational opportunity, vocational opportuni}j/,
athletic opportunil§/, personal fulfillmentJ eexual activityJ family relatiun¢r'l readingj television, movies;
travel, enjoyment and exprec.s‘ion For which One le en titled monetary and equitable relief

Count ’l
Plaintilf'hereé_y incorporates’ é_g reference all of' the following pa ragraph§' and §tate§' a_¢ Followr

Def`en dante Ru($zing and C'atherine acting individually and in concert, deliberately an rechle.¢'s'lj; attempted to
coerce One into taking a guilzj/ plea deopite no complainant being present and re¢{ues‘t f'or an equitable

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deternu‘nationr in violation of' Onerl 14th amendment right not to he deprived of' lihertg without due process of law
and to a fair criminal trial.

/Uo rearonahle person would find the actions of such defendants to he lawful

As a direct and proximate result of the defendants actions One war wrongly accused and convicted of failure to
appear and imprisoned for multiple hours and suffered the other grievous and continuing injuries and damages

as set forth ahove

count 2
f)lairitifrv hereh_y incorporates h_y reference all of the following paragraphs and states as follows
Defen dan ts Martin and Patrice acting inoh'violually and in concert, fahricated i'nf'ormation, disregarded known

grounds for dismier and deh'herately issued arrest orders for One in violation of Onc's ‘l”` amendment right to
lihertg interest ’l’l“` amendment right not to he deprived of h'hertg without due procesr of' law and to a f`air

criminal trial.
/Uo rearonahle person would find the actions of' such defendants to he lau/fut
As a direct and proximate result of the defendants actions One war wrongly accused and convicted of failure to
appear and imprisoned for hours and suffered the other grievous and continuing injuries and damages as set

forth ahove

Count 3

Plaintifc' hereby incorporates h_y reference all of the following paragraphs and states as follows
Defendants l/alerie and Ahigail acting individually and in concert, deliberately did not note One's appearance for
the record in violation of one's 19th amendment right not to he deprived of h'hertg without due process of law

and to a f’air criminal trial.
/Uo rearonahle person would find the actions of such defendants to he lawful.

As a direct and proximate result of the defendants actions One war wrongly accused and convicted of’ failure to

appear and imprisoned f'or hours and suhrered the other grievous and continuing injuries and damages as set

forth ahove

Count ll
Plaintiiir'herehy incorporates hg reference all of` the following paragraphs and states as follows

fill named defendants, acting individually and in concert deh'herately, despite hnowing prohahle cause did not
exist to arrest, continually issued unlawful orders for arrest and chose to enforce those orders while
simultaneously choosing to prosecute a complai`nant~lers clai'm, and caused to he arrested con tin ual@/ detained
and prosecuted f'or false failure to appear'allegati'ons in violation of One’s 1th amendment rights not to he
deprived of liberty without due process of law, equal protection under the law, privileges and immunities and to a
fair criminal tri'al.

/Uo rearonahle person would find the actions of such defendants to deprive one of One's h'herty without prohah/e
cause to he lau/fut and these actions went against clearlyl established constitutional laiu.

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llis a direct and proximate result of the defendants actions One was wrongly accused and convicted of failure to

appear and imprisoned for hours and suFered the other grievous and continuing injuries and damages as set

forth ahove.

€ount 5
Plain tilf hereh_y incorporates hy reference all of the following paragraphs and states as follows

Defendants new or in the absence of their deliberate indifference rechlessness and gross negligence should have
hnown that their suhordinate officers had deprived one of clearly established constitutional rights through
misconduct that included hut was not limited to coercing and compelling allegedly and corporate or statements
failing to conduct constitutionally adequate investigation of ones matter. B_y deh`loerateiji rechlessly and grossly
negligent failing to supervise their suhordinates and by their active and direct participation in and facilitation of
their suhordi`nates misconduct calls their suhordinates to deprive one of clearly established constitutional rights
including hut not limited to his rights not to he compelled as a witness against himself to he free from
un reasonable searches and seizures not to he deprived of tiherty without due process of law and to a fair trial

/Moreover defendant acted with impunity in an environment in which they hnew they were not trained supervisor
or disciph`ned by their §uperior officers in which they hn ew that their violations of one’s constitutional rights

would he facilitated approved and condoned hy their §uperi`or.

The deliberately indifferent £echless conduct of their supervisors violated their cleariy established Duty is
supervising subordinates and no reasonable supervisor would have found their accidents to he lau/fut

Count 6

PlaintiF herelu_y incorporates lay reference all of the following paragraphs and states as follows

Defenda.nts in others yet unknown agreed among themselves and with their other individuals to act in concert in
order to deprive one of his clearly estahli`shed fourth fifth 14th fimen dment right to he free from unreasonable
searches and seizures not to loe too proud of his tiherty without due process of law into a fair criminal trial and

to egual opportunity and protection under the laws

fis a direct and proximate result of the defendant ’s conspiracy and actions in furtherance of that conspiracy one
was wrongly arrested prosecuted for a failure to appear convicted and imprisoned for and suffered the other
grievous and continued injuries and damages as set forth above

count il
Plaintii?` hereby incorporates hy reference all of the following paragraphs and states as follows

]`he forsyth County fla/l of]ustice in the district attorneys oifi`ce hy in through there final policyma.éers
maintained a poh‘c_y custom and pattern and practice of promoting facilitating and condoning improper illegal and
unconstitutional investigative techniques and pretrial notice procedures including hut not limited to the following

disregarding Ainendment rights of criminal defendants

This policy custom and pattern and practice of promoting facilitating and condoning improper illegal and
unconstitutional investigative techniques and pretrial notice procedures and falling to train and supervise odicio.ls
were evidenced hy, among other action, multiple constitutional violations and related acts of misconduct
committed hy multiple officials in the course of these events and in prior and suhseguent cases.

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Po/icyma£ers were deiiloerate[y indié¢’erent to the known and oévious risé that the policy cu.\"‘foml pattern and
practice of'promoting facilitating and condoning improper i/iega/ and unconstitutiona/ investigative techniyoes and
prefria/ notice procedures and f'ai/ing to train and supervise ofFicia/s a risk that the constitu?$‘ona/,_fy secured
rights of suspects /ike One wou/d ée violated

The miscondoct and constitutional violations committed defendan fs in the course of the investigation and
prosecution of One were carried out pursuant to the custom, pattern and practice of promoting Faci/itating and
condoning improper i//ega/ and unconstitutional investigative techniyoes and prefria/ notice procedures and Faih`ng
to train and supervise oH?cion. As a direct and proximate resu/t of the Haf/ of]ustices Poin.-y, custom, pattern and
practiceJ One was wrong/y persecuted convicted and imprisoned For Fai/ore to appear on two separate occasions

and sufered the other grievous and con?‘in oing injuries set forth aéove.

§e/ief to be §eguesfed:
WHEPEFORE, One prays as fo)?ows:
;4. For fhc Attorney Gc'nera./ to Intervene pursuant to ‘{2 [/§'C..A {ZOOU //-Z] and that the Attorney
Eenero/ Exp/ain the Consfitotionajity of' this 1 hour trial notice po/icy pursuant to Bu/e 5.1 ofthe

F.RC°.P.
5. §’oit In Eguity Deman¢t Pursuant to FPCR One Eeqaesf a suit in Equity on ad issues and claims set
forth in this Affimed C'omp/aint.

C. That the courtL award compensatory damages to One against the defendanfsjo¢`nf./y and severa//y, in a
the amoon?*of' ]'(}C`>D y LO@ 131
- D. The th courf award punitive damages to OneJ and against a// non munic)pa/ defendants in the amount of SS/c@©`gg

, tha?c wi// deter conduct lay defendants in the Future;
E. For a prejudgment and pos?j'udgmenf interest and recovery of cosf, in c/uding reasonaéfe attorney fees

pursuant to 42 (/§CA ’!Y¢S’? For aff 42 t/S’CA c/aims.

F One wants eguitaS/e re/ief and damages from injuries, granted cy actors entrusted with prudent[y
administering ina/ienabie rights, priui/eges, and immunities disfriéoted to beneficiaries of the covenant
YHWH has estabi$`shed with His heirs

5. One is seeking eguitab/e relief and damages f'rom f'a/se arrest, Fa!se imprisonment Fright, shock menfa/
diszi‘urisanccJ puc/ic embarrassment emotiona/ distress From fear of repeated un iawf'u/ deprivations of'
federa//y secured rights, maiicious prosecotion, denia/ of ¢¢.=¢.¢uaipr~oitection1 privi/egcs and immunities and
due process, and deprivation of civii` rights under co/or of state /aw. One wants an injunction to prevent
further civi/ right derivations and to rectify past wrongs that occurred on these times comp/ained about
One knows as to why One shou/d ée granted immediate reh`eff'rom e¢?’ects of' wickedness oF those named
who participated in acts or omissions /eading to serious invasion of One's fiFe, /iéerty, and property
interests, in a €ourt of equity or One where law and equity are merged, under the Federaf/€u/es of €ivi/
Prooedore. One intends on hringing suit f'or damages and equitable reh'ef' against /'lctors in their personal
capacity and suit f'or eguitab/e relief against actors in their oMcid capacity For constitutiona/ violations
rem/ting in injuries and deprivation without due process of /aw. One wishes for Ones supp/icafion and
prayer For in tervcnfion to be shown to he made in good faith éy, founded upon trufh, 43 test of H/rit of'
certiorari to check and see if’apph`caé/e records ref/ocf these a{§z:‘r)na?‘ions made.

H_ One wan z‘s a pre/ino‘na)y injunction to restrain actors in Fors_yth county from detaining one one of's
/iéerty uniawFo//jz without due process so that one can peaceful/y prepare for One's trial injunction that

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will Enjoin judge from ordering One’s detention, and a declaratory judgment that their practices violate
l/nited §tates Cons?‘itution and Federal {/nited §tates codes, €onsfitutional rightsJ and order an
injunction or decree making judges and clerhs expunge records of unlawful arrest and to Discharge these
charges oFDlJ/CR hecause of the deprivations su¢%red already, and a permanent injunction guaranteeing
ones peace unless in gross violation of' the Caw.

I. One demands Declaratoryjudgmen1'c confirming and asserting One's rightsJ including hut not limited to _,-
One has the right to not he victinv`zed hy wholly arhitrary acts. One has the right to not he treated di¢¥'emnt
other natural person similar situated in a Forsyth County S'uperior Court For traffic citations One has the right
to he aforded egualpro?‘ection of the tawJ due process protection of` the Caw, and all applicaé»lc statutory and
equitable henefi!‘s, rights, prir,u'leg¢‘.'sl immunitiesJ and protectionsJ intended f'or One and protected hy fengre§s_
One has the right to li{"e, h'herty, and property as a son of the /i/lost l'ligh }/l'lW/~l . One has the right to accept
the heneficial ehrects of Y/'li(l/'l s lemple and One Js physical manifestation currently heing classified hy the courts
as a hiach natural person and United §tates Citicen and /Uorth Carolina Citicen. One declares and asserts the
right to not have One protected rights improperly invaded by acts of'£u§in §_ykes and any other ¢Duhlic Actor
and their agents acting under color of law , customJ or § tate authority. One has right to seek redress From
wrongs such as, hut not h’mited toJ due process and egual protections violations concerning selective enforcement
oFlau/s, exculpatory evidence not heing admitted and ministerial usurpation and oppress)`on. One has the fight to
have One 's appearances duly recorded like others who malce appearances and are not punished for doing so. One
has the right to a preliminary and permanent injunction to prevent to reasonable threat ol'repea?‘ed
constitutional violations resulting in inqu to One and trespass against Oncs civil rights. 7“ amendment right to
Free expression and personal liberty, Essential YHWH given natural rightsJ and constitutional civil rights, Right
to bodily integrity to he f'ree from physical abuse at the hands ol'l\lC' § tate by any person acting under color of'
law, Righl to live peaceahly in home without heing harassed or assaulted use public sidewalks and streets without
heing assa~'.»'l'tedJ hidnapped, and thrown in a dungeon. l`he right to have personal righ ts, property rightsJ civil
rights, and civil liherties protected From unlawful in vasions, fight to judicially assert actions, Right to recoup in
action to enforce liahih'ty in damagesJ temporary restraining order and prelinu`nary injunction f am entitled to
recover damages and injunctions and judgmentL declaring my rights as and status as and their obligations as
hecause Eguity allows remedy For every wrong done to me and because insurance companies offer monies to cover
damages caused hy bonded people when they injure others and cause damage to liberty, lil`eJ and property interest
heing taken away with out lawfulgustiHcation. The federal statute f'or challenging actions done because a person
has a hadge of` authority and is falsifying grounds to initiate a lawful process such as arrest procedures to punish
a person for not contracting with them when doing so would cause a loss to One who has real questions about
why certain things are happening and circumstances are occurringl One l'las the fight to have One 's
appearances duly recorded like others who make appearances and are not punished for doing so. One has the
right to a preliminary and permanent injunction to prevent to reasonahle threat of repeated constitutional
violations resulting in injury to One and trespass against One ‘s civil rights. The 661l amendmenfproz‘eets and
Euaranfee my right to a flair trial Righf to personal liherty protected Sy "l“' amendment civil/eighls Act 13?7,
no need to he detained after hondsman there, right to he released excessive force cuhz`s too tight.

]. One wants discovery initiated to retrieve camera visuals, stenographer re.'cordingsJ insurer and
hand informations oaths of oHices of sworn public actors, witnesses subpoenaed and depositions and

interrogatories form for examining defendanfs.

One hnows all the testimony mentioned to he true and hnows-no evidence existing to establish the contrary.

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l agree to provide thc Clcrk’c Officc With any chanch to my address where casc~rclatcd papers
may be Servcd- l understand that my failure to keep a current address 011 file With the Clcrk’S

Ofl'lce may result 111 thc dismissal cf my casc.

N,\@\ tim la a
(printcd na.rpc cf l>fi§mnant) by Ci{/‘ u?iv 1_{_ Appcarzmce, in Propria Persona, proceeding Sui Juris.

“/\/‘L¢’j) ’/LL fof/oc/ vi
il
(siguaturc ofAmeant) by iii 1541 dfr/nl Appcarancc, in Prcpria Pcrsona, proceeding Sui Juris.

1"/

County ochrsyT.h ) JURAT

Statc cf North Carolina )

Subscribcd and affirmed before me on this/l :. 6 day 0fJ1mc,2018 by Rankin Nigcl Marquell

Who proved to me on the basis cf satisfactory evidence to be the living mem Who attested,
affirmed and Subscribcd to the Within instmmcnt, by his unlimited commercial liability, as

true, correct, complete and not misleading

Wituess my hand and Seal this ;\\) day cf luna 2018.

 

 

 

 

f d RHAN|TA ROBERTSON
g 1a § if y W 7 thary Public
3 (‘-" 'W“ ;\ h m FM (Hand) Forsyth Co., North Carolina
(S@al) My Commission Expires Dec. 20. 2021

 

/H¢@ <r/z>"//e

ZUQ ulon cr
wasn alan A/c ZY/oc‘

 

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